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 4
                                IN THE UNITED STATES DISTRICT COURT
 5
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
 6

 7
     UNITED STATES OF AMERICA,                                        )    No. CR 06-00148 MJJ (WDB)
 8                                                                    )
                                 Plaintiff,                           )    ORDER RE:
 9                                                                    )    TRANSPORTATION EXPENSES
     v.                                                               )
10                                                                    )
     JENNIFER LYNN ABERLE,                                            )
11                                                                    )
                               Defendant.                             )
12                                                                    )

13
            GOOD CAUSE APPEARING, and because the interests of justice are served and the Court is
14
     satisfied that the defendant is financially unable to provide the necessary transportation,
15
            IT IS HEREBY ORDERED that, pursuant to 18 U.S.C. § 4285, the United States Marshal for
16
     the Northern District of California shall furnish transportation and subsistence expenses to the above-
17
     named defendant to enable her to travel to the Northern District of California, Oakland, California,
18
     for an initial appearance before Wayne D. Brazil on June 2, 2006, at 10:00 a.m., from her home in
19
     Lincoln, Nebraska.
20
            IT IS FURTHER ORDERED that, pursuant to 18 U.S.C. § 4285, the United States Marshal for
21
     the Northern District of California shall furnish transportation to the above-named defendant to
22
     enable her to return to Lincoln Nebraska as soon as the court proceedings have been completed.
23                                                               S DISTRICT
            IT IS SO ORDERED.                                  TE
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                                                            IT IS S
     DATED: May 24, 2006
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                                                 WAYNE D. BRAZIL
                                                                                     Brazil
                                                                           ayne D.
                                                   NO




                                                                 Judge W
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     ORDER RE:
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     TRANSPORTATION
                                                            ER
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 1                                     United States Magistrate Judge


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     ORDER RE: TRANSPORTATION
